21-10630-tmd Doc#24 Filed 09/07/21 Entered 09/07/21 16:01:32 Main Document Pg 1 of
                                        25



                           IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE WESTERN DISTRICT OF TEXAS
                                       AUSTIN DIVISION

  In re:                                             §
                                                     §     Case No. 21-10630-tmd
  WC 717 N. HARWOOD PROPERTY, LLC                    §
                                                     §     Chapter 11
           Debtor.                                   §


                  DEBTOR’S EMERGENCY MOTION FOR INTERIM ORDER
                     AUTHORIZING USE OF CASH COLLATERAL AND
                         PROVIDING ADEQUATE PROTECTION

  TO THE HONORABLE UNITED STATES BANKRUPTCY JUDGE:

           WC 717 N. Harwood Property, LLC, (the “Debtor”) files this motion (this “Motion”)

  seeking an interim order and a final order from the Court (i) authorizing the use of cash collateral

  pursuant to sections 105, 361, 362, 363 and 364 of the United States Bankruptcy Code, 11

  U.S.C. § § 101 et. seq. (the “Bankruptcy Code”) and Rule 4001(b) of the Federal Rules of

  Bankruptcy Procedure (“Bankruptcy Rule” or “Bankruptcy Rules”); and (ii) granting adequate

  protection to SKW - B Acquisitions Seller J, LLC (“Noteholder” or “SKW – B”), as successor

  in interest to JPMorgan Chase (“Original Lender”). In support of this Motion, the Debtor

  respectfully represents as follows:

                                   JURISDICTION AND VENUE

           1.     The Court has jurisdiction over the Motion pursuant to 28 U.S.C. §§ 157 and

  1334(b). This matter is a core proceeding, and this Motion is proper in this district pursuant to 28

  U.S.C. §§ 1408 and 1409.

           2.     The statutory bases for relief requested herein are Sections 105, 361, 362, 363 and

  364 of the Bankruptcy Code and Bankruptcy Rule 4001(b).




  5636857.1 FJR 23061.20
21-10630-tmd Doc#24 Filed 09/07/21 Entered 09/07/21 16:01:32 Main Document Pg 2 of
                                        25



                             SUMMARY OF REQUESTED RELIEF

         3.      The Debtor seeks an order of this Court authorizing it to use cash collateral of

  Noteholder pursuant to the terms and conditions set forth in the attached interim order and

  pursuant to a final order to be heard at a later time. The Debtor believes that Noteholder is

  adequately protected through, among other things, a substantial equity cushion with respect to its

  collateral, certain improved real property described further below, the Debtor’s agreement to pay

  to Noteholder contract rate interest, and by the use of cash collateral to maintain that collateral,

  as well as the replacement liens that the Debtor proposes to grant the Noteholder.

                                          BACKGROUND

         1.      The Debtor’s principal asset is an approximately one acre a tract of real property

  improved by a class A, thirty-four story office building located in the downtown Dallas, Texas

  central business and museum districts (the “Property”).

         2.      On August 3, 2021 (the “Petition Date”), the Debtor commenced this chapter 11

  of the Bankruptcy Code (the “Chapter 11 Case”). The Debtor, as single asset real estate entity

  as defined by section 101(51B) of the Bankruptcy Code, is operating its businesses and

  managing the Property as a “Debtor in Possession” pursuant to sections 1107(a) and 1108 of the

  Bankruptcy Code. No request for the appointment of a trustee or examiner has been made in this

  Chapter 11 Case, and no committees have been appointed or designated.

         3.      The Debtor is operated through its sole member, WC 717 N Harwood Equity,

  LLC. The Property is managed on a day-to-day basis by Colliers International under a certain

  Management Agreement with the Debtor. The Property currently is approximately 77% leased to

  over 25 office tenants, including several tenants who host their global headquarters at the

  Property. The Property currently generates monthly rents and related charges of $965,600 and is



                                                  -2-
  5636857.1 FJR 23081.20
21-10630-tmd Doc#24 Filed 09/07/21 Entered 09/07/21 16:01:32 Main Document Pg 3 of
                                        25



  projected to continue doing so for the foreseeable future, with rental increasing significantly in

  2021 as the Debtor’s anchor tenant commences its lease payments.

         4.      The Debtor acquired the Property in 2014 and refinanced it in 2019 with the

  Original Lender, as evidenced by (among other things) that certain loan agreement dated August

  9, 2019 (the “Loan Agreement”) and a first lien note (the “Note”) secured by a deed of trust

  (the “Deed of Trust”).

         5.      On or about March 2021, the Noteholder purchased the Loan from the Original

  Lender. As of the Petition Date, the Debtor’s books and records reflect that it was indebted to

  the Noteholder on the Loan in the amount of approximately $72,000,000. (the “Loan Debt”).

  Based upon recent appraisal, the Debtor believes there is a significant equity cushion in the

  Property in excess of the Loan Debt.

         6.      Prior to filing this Motion, the Debtor has engaged in negotiations with

  Noteholder regarding the use of cash collateral and the Debtor’s operations, as well as certain

  cash management logistics. Based on those negotiations, the Debtor believes that the parties

  have reached agreement regarding all material terms of the use of Cash Collateral through

  September 30, 2021, as provided in the form of proposed Agreed Interim Cash Collateral Order

  attached hereto as Exhibit A (the “Interim Order”).

         7.      In addition to the operating cash reflected in Exhibit A, Noteholder is also in

  possession of certain cash reserves of Debtor for insurance, taxes, capital improvements and

  other excess cash reserves, for which Debtor reserves all rights.

         8.      Debtor maintains the following pre-petition bank accounts at PNC Bank, N.A.

  (“PNC”): (a) a lockbox account for the receipt of rents, which is subject to a Deposit Account

  Control Agreement between the Debtor and the Noteholder, referenced as Account No.

  ******8975) (the “Lockbox Account”); and a general account for the payment of expenses and

                                                  -3-
  5636857.1 FJR 23081.20
21-10630-tmd Doc#24 Filed 09/07/21 Entered 09/07/21 16:01:32 Main Document Pg 4 of
                                        25



  other disbursements, referenced as Account No. ******8983 (the “General Account”). PNC

  has requested that any use of funds from either the Lockbox Account or the General Account (in

  which substantially all of the Debtor’s cash is held), be authorized by order of this Court. The

  Debtor requests that it be permitted and authorized to use the cash balances in its General

  Account for all payments authorized under the Budget (as defined below) through September 30,

  2021, or alternatively, that it be permitted to transfer the funds in the General Account to the

  Debtor’s debtor in possession account, referenced as Account No. ******6192 (the “DIP

  Account”).

                           REQUEST FOR USE OF CASH COLLATERAL

         9.      Cash collateral is defined as “cash, negotiable instruments, documents of title,

  securities, deposit accounts, or other cash equivalents whenever acquired in which the estate and

  an entity other than the estate have an interest and includes proceeds, products, offspring, rents,

  or profits or property and the fees, charges, accounts or other payments for the use or occupancy

  of rooms and other public facilities in hotels, motels, or other lodging properties subject to a

  security interest as provided in section 552(b) of this title, whether existing before or after the

  commencement of a case under this title.” 11 U.S.C. § 363(a).

         10.     11 U.S.C. § 363(c)(2) states as follows:

                 The trustee may not use, sell or lease cash collateral under paragraph (1) of this
                 subsection unless

                           (A)   each entity that has an interest in such cash collateral consents; or

                           (B)   the court, after notice and a hearing, authorizes such use, sale, or
                                 lease in accordance with the provisions of this section.

         11.     To the extent 11 U.S.C. § 363(c)(2) is applicable, the Debtor require the use of

  cash created from the operations of the Property, which is subject to the lien in favor of

  Noteholder (the “Cash Collateral”) to pay the reasonable and necessary operating expenses,

                                                   -4-
  5636857.1 FJR 23081.20
21-10630-tmd Doc#24 Filed 09/07/21 Entered 09/07/21 16:01:32 Main Document Pg 5 of
                                        25



  including, but not limited to utility charges, insurance and taxes. The Debtor’s use of this Cash

  Collateral is necessary to preserve and increase the value of the Debtor’s collateral and the

  Debtor’s estates for the benefit of all creditors, including the Noteholder.

  A.      Grounds for Relief Requested

          12.      Section 363 of the Bankruptcy Code authorizes a debtor to use cash collateral if

  those having an interest in such cash collateral consent or the court authorizes its use. See 11

  U.S.C. § 363(c)(2). The use of cash collateral, however, may be prohibited or conditioned, upon

  proper request, as is necessary to adequately protect any interest in cash collateral. See 11

  U.S.C. § 363(e). The burden to demonstrate that the cash constitutes cash collateral belongs to

  the party claiming an interest in that cash and is not the debtor’s burden to prove the contrary.

  See 11 U.S.C. § 363(o)(2).

          13.      A court may authorize the use of cash collateral upon showing that those with an

  interest in the cash collateral are adequately protected.1                  Adequate protection requires

  examination of the creditor(s)’ aggregate collateral position, not simply protection of its lien on

  cash. Adequate protection may be provided by granting replacement or additional liens “to the

  extent [that the use of cash collateral] results in a decrease in the value of [an] entity’s interest in

  property.” See 11 U.S.C. § 361(2). Authorizing a debtor to use cash collateral on an interim

  basis is appropriate where, as here, continuing the business as a going concern will cause the

  generation of future revenues upon which the secured lender is granted replacement liens and

  preserve the value of the underlying assets.2


  1
      See In re Las Torres Dev., LLC, 413 B.R. 687, 694–95 (Bankr. S.D. Tex. 2009); In re Harrington and
  Richardson, Inc., 48 B.R. 431, 433 (Bankr. D. Mass. 1985); In re Certified Corp., 51 B.R. 768, 770 (Bankr. D.
  Hawaii 1985) (“It is well established that a debtor is entitled to use cash collateral upon proof of adequate
  protection.”).
  2
    See, e.g., In re Neise, Inc., 16 B.R. 600 (Bankr. D. Fla. 1981); In re Certified Corp., 51 B.R. 768 (Bankr. D.
  Hawaii 1985); In re Post-Tron Systems, Inc., 106 B.R. 345 (Bankr. D.R.I. 1989).
                                                        -5-
  5636857.1 FJR 23081.20
21-10630-tmd Doc#24 Filed 09/07/21 Entered 09/07/21 16:01:32 Main Document Pg 6 of
                                        25



         14.     By authorizing the Debtor to use cash collateral, the Court will place the Debtor

  in a position to fund its operating expense and allow it to operate as a going concern for the

  immediate future. The Debtor needs to use cash collateral in order, inter alia, to pay essential on-

  going business obligations, such as insurance, utility, maintenance and future tax obligations.

  Without the authority to use Cash Collateral, the Debtor will be significantly hindered in its

  ability to fund its business operations in a manner that will allow the Debtor to continue to

  operate as a going concern and to manage the Property to service its very valuable tenants, to the

  detriment of all of Debtor’s creditors.

  B.     Offer of Adequate Protection and Summary of Cash Collateral Order

         15.     Attached hereto as Exhibit A is the Interim Order authorizing the Debtor’s use of

  Cash Collateral to pay post-petition budgeted expenses though and including September 30,

  2021, as may be extended by agreement of the parties. Attached to this Motion as Exhibit B is a

  proposed budget of the Debtor’s operations that itemizes the use of cash through and including

  September 30, 2021 (the “Budget”). The proposed order is consistent with Local Rules. The

  budget items set forth in the Budget are necessary to avoid immediate and irreparable harm prior

  to a final hearing on the Motion.

         16.     As set forth in the Interim Order, the Debtor contends that the Noteholder’s

  interest in the Cash Collateral is adequately protected by (among other things) (a) the amount by

  which the Property’s value exceeds the Loan Debt, (b) the use of Cash Collateral to preserve the

  value of the Property, and (c) the issuance of replacement liens. As additional adequate

  protection, the Debtor has agreed to commence making monthly adequate protection payments

  beginning on September 1, 2021, in the amount equal to the monthly interest otherwise payable

  on the Loan.



                                                  -6-
  5636857.1 FJR 23081.20
21-10630-tmd Doc#24 Filed 09/07/21 Entered 09/07/21 16:01:32 Main Document Pg 7 of
                                        25



         17.     Additionally, because the use of the Cash Collateral is wholly in support of

  continued operation of the Property and issuance of Replacement Liens (as defined below) serve

  as additional adequate protection, adequate protection payments are not warranted under the

  circumstances. Therefore, the Debtor’s offer of adequate protection for the Interim Order is as

  follows:

                 a)        Noteholder will be granted a replacement lien (the “Replacement Lien”)
                           of the same extent, validity and priority as its prepetition liens in its
                           collateral, with the exceptions and provisions that follow, with the same
                           priority as their pre-petition lien, if any, and solely to the extent that pre-
                           petition Cash Collateral is used;

                 b)        The Replacement Lien will not prime any validly attached and properly
                           perfected lien held by a third party on specific property of the Debtor as of
                           the Petition Date;

                 c)        The Replacement Lien will not attach to chapter 5 actions of the Debtor
                           (but will attach to the proceeds of the recovery upon such actions);

                 d)        The Replacement Lien will attach to unencumbered property of the
                           Debtor, if any, or the proceeds from any sale of any unencumbered
                           property;

                 e)        All post-petition expenditures of Cash Collateral made by the Debtor with
                           Lender consent prior to entry of this Order shall be entitled to the same
                           protections as expenditures made subsequent to entry of the Interim Cash
                           Collateral Order.

                 f)        The Replacement Lien will attach only to the extent that cash used by the
                           Debtor is ultimately determined by the Court to be Cash Collateral of
                           Noteholder;

                 g)        The Replacement Lien will not apply to any reduction in cash value
                           caused from the payment of an expense that is later surcharged against
                           Noteholder’s collateral based on Section 506(c) of the Bankruptcy Code;

                 h)        Subject to the limiting conditions on the Replacement Lien, the
                           Replacement Lien will be binding upon any subsequently appointed
                           chapter 11 or chapter 7 trustee;


                                                     -7-
  5636857.1 FJR 23081.20
21-10630-tmd Doc#24 Filed 09/07/21 Entered 09/07/21 16:01:32 Main Document Pg 8 of
                                        25



                 i)        The cash will be used to continue the operations of the Debtor and
                           therefore maintain the going concern value of the aggregate of
                           Noteholder’s Collateral; as such, the use of cash will be regulated by a
                           preapproved budget to assure that appropriate operating expenses are
                           being paid and that no inappropriate expense is paid; and

                 j)        Debtor reserves the right to seek a provision in the final Cash Collateral
                           Order or any future budget providing a carve out for approved estate
                           professionals, including but not limited to, Debtor’s counsel, any counsel
                           for a statutorily formed committee, as well as any United States Trustee
                           Fees.

         18.     The Debtor believes that the terms of the proposed Interim Order are fair and

  reasonable under the circumstances. The Debtor asserts that the aggregate value of Noteholder’s

  Cash Collateral will not diminish as a result of the use of cash in this case.

         19.     Given that the interests of Noteholder will be adequately protected, it is in the best

  interest of the Debtor, its estates, and all of its creditors for the Debtor to be able to continue

  operations and for the Debtor to be authorized to use Cash Collateral, even without Noteholder’s

  consent.

                                     NOTICE OF THIS MOTION

         20.     The Debtor has provided notice of the filing of the Motion either by electronic

  mail, facsimile, overnight mail or regular mail to: (i) the Office of the United States Trustee; (ii)

  the Debtor’ 20 largest unsecured creditors; (iii) counsel to Noteholder; (iv) the Internal Revenue

  Service; (v) counsel for PNC Bank, N.A., and (vi) all parties entitled to notice pursuant to

  Bankruptcy Rule 2002 and Local Rule 9013 (collectively, the “Notice Parties”). Due to the

  nature of the relief requested herein, the Debtor submit that no other or further notice is required.

                                       REQUEST FOR RELIEF

         21.     The Debtor respectfully requests that, as provided in the Interim Order: (a) it be

  authorized to use cash collateral for the purposes of paying necessary business expenses as

  allowed by section 363 of the Bankruptcy Code, and that the Court grant Noteholder
                                                   -8-
  5636857.1 FJR 23081.20
21-10630-tmd Doc#24 Filed 09/07/21 Entered 09/07/21 16:01:32 Main Document Pg 9 of
                                        25



  Replacement Liens on post-petition assets, as allowed by sections 361, 363 and/or 364 of the

  Bankruptcy Code, consistent with the terms and provisions contained in this Motion; and (b) that

  the Debtor be authorized and permitted to utilize the funds in its General Account to satisfy the

  budget items contained in the Budget.

         ACCORDINGLY, FOR THE FOREGOING REASONS, the Debtor respectfully

  requests the Court (i) authorize the interim use of Cash Collateral pursuant to Sections 105, 361,

  362, 363 and 364 of the Bankruptcy Code and Bankruptcy Rule 4001(b); (ii) grant adequate

  protection to the prepetition secured lender; and (iii) grant such other relief and further relief as

  the Court may deem proper.

  Dated the 7th day of September 2021.


                                                         Respectfully submitted,

                                                         FISHMAN JACKSON RONQUILLO PLLC

                                                          /s/ Mark H. Ralston
                                                         Mark H. Ralston
                                                         State Bar No. 16489460
                                                         Fishman Jackson Ronquillo PLLC
                                                         Three Galleria Tower
                                                         13155 Noel Road, Suite 700
                                                         Dallas, TX 75240
                                                         Telephone: (972) 419-5544
                                                         Facsimile: (972) 4419-5501
                                                         E-mail: mralston@fjrpllc.com

                                                         PROPOSED COUNSEL FOR DEBTOR
                                                         WC 717 N. HARWOOD PROPERTY, LLC




                                                   -9-
  5636857.1 FJR 23081.20
21-10630-tmd Doc#24 Filed 09/07/21 Entered 09/07/21 16:01:32 Main Document Pg 10 of
                                        25



                                  CERTIFICATE OF SERVICE

          This is to certify that the undersigned caused a true and correct copy of the foregoing
  document to be served on the parties listed on the attached service list by First Class United
  States Mail, on the persons listed below by email as indicated, and on all persons receiving
  electronic notice of filings in this case through the ECF system, on this, the 7th day of September
  2021.


         Office of the United States Trustee:
         Deborah Bynam
         E-mail: Deborah.A.Bynum@usdoj.gov


         Counsel for SKW-B Acquisitions Seller J, LLC
         Theresa Driscoll
         E-mail: tdriscoll@moritthock.com

         Matthew Contreras
         E-mail: MContreras@skwfunding.com


         Counsel for PNC Bank, N.A.
         William G. Gardner
         E-mail: william.g.gardner@pnc.com


                                                         /s/ Mark H. Ralston
                                                        Mark H. Ralston




                                                 -10-
  5636857.1 FJR 23081.20
21-10630-tmd Doc#24 Filed 09/07/21 Entered 09/07/21 16:01:32 Main Document Pg 11 of
                                        25




                           IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE WESTERN DISTRICT OF TEXAS
                                       AUSTIN DIVISION

  IN RE:                              §                           Chapter 11
                                      §
  WC 717 N HARWOOD PROPERTY, LLC, §                               Case No. 21-10630-tmd
                                      §
        Debtor.                       §
  ____________________________________§

       AGREED ORDER AUTHORIZING DEBTOR’S (A) USE OF CASH COLLATERAL
           PURSUANT TO SECTION 363(c) OF THE BANKRUPTCY CODE AND
            GRANTING ADEQUATE PROTECTION, AND (B) SCHEDULING A
              FINAL HEARING PURSUANT TO BANKRUPTCY RULE 4001

            This matter came before the Court pursuant to the Emergency Motion for Interim and Final

  Order Authorizing Cash Collateral, if any, Pursuant to 11 U.S.C. § 363 (the “Motion”) filed by the

  above-captioned debtor (“Debtor”). Based on the Motion and the entire record before the Court,

            THE COURT HEREBY FINDS AND CONCLUDES as follows: 1

            A.       On August 3, 2021 (the “Petition Date”), the Debtor filed a voluntary petition for

  relief under Chapter 11, thereby commencing this Chapter 11 case (the “Bankruptcy Case”).



  1
      Capitalized terms not otherwise defined in this Order shall have the same meaning as defined in the Motion.
                                                EXHIBIT A – Page 1
  5637605.1 FJR 23081.20
21-10630-tmd Doc#24 Filed 09/07/21 Entered 09/07/21 16:01:32 Main Document Pg 12 of
                                        25



           B.        This Court has jurisdiction over the Bankruptcy Case and the Motion pursuant to

  28 U.S.C. §§ 157(b) and 1334. The Motion presents a core proceeding as defined in 28 U.S.C. §

  157(b)(2).

           C.        The Debtor owns a multi-tenanted commercial office building located at 717

  Harwood, Dallas, Texas (the “Property”).

           D.        The Debtor, as borrower, obtained a mortgage loan (the “Loan”) from JPMorgan

  Chase Bank, N.A. (“Original Lender”) pursuant to a loan agreement, dated as of August 9, 2019

  (as amended from time to time, the “Loan Agreement”).

           E.        The Loan is evidenced by (i) Second Amended and Restated Promissory Note A-1

  made by WC 717 N Harwood Property, LLC in favor of Original Lender in the principal amount

  of $55,277,377.00 (the “A Note”) and (ii) Amended and Restated Promissory Note B-1 made by

  WC 717 N Harwood Property, LLC in favor of Original Lender in the principal amount of

  $20,000,000.00 (the “B Note” and together with A Note, the “Notes”).

           F.        The Loan is secured by, among other things, a certain Deed of Trust, Assignment of

  Leases and Rents and Security Agreement, dated as of August 9, 2019 (as amended on September

  26, 2019, the “Deed of Trust” and together with the Notes, the “Loan Documents”). Pursuant to

  certain assignment agreements, SKW - B is the successor to the Original Lender under the Loan

  Documents.

           G.        Pursuant to the Deed of Trust, SKW – B currently holds and maintains properly

  perfected first priority liens in certain real estate and improvements, including the Property. To

  perfect the liens granted to the Original Lender, the Deed of Trust was recorded with the County

  Clerk of Dallas, Texas.




                                           EXHIBIT A – Page 2
  5637605.1 FJR 23081.20
21-10630-tmd Doc#24 Filed 09/07/21 Entered 09/07/21 16:01:32 Main Document Pg 13 of
                                        25



           H.        The Debtor hereby acknowledges and admits that as of the Petition Date, the Debtor

  owed SKW - B for monies loaned under the terms of the Loan Documents a principal amount of

  $74,231,017.32 plus accruing interest, fees, costs, and other amounts owing under the Loan

  Documents and less any escrow and reserve balances held by SKW – B (together, the

  “Indebtedness”). The Debtor hereby acknowledges and admits that default interest under the Loan

  Documents continues to accrue postpetition at the rate set forth in the Loan Documents from the

  Petition Date until such time as the Indebtedness owing under the Loan Documents is paid in full.

           I.        Under the Deed of Trust, the Debtor granted to SKW – B (as assignee) a first

  priority lien in certain real estate and improvements, including the Property (the “Collateral”). The

  Collateral includes, among other things, all rents issued, profits, income, cash proceeds and other

  cash equivalents, and all cash and cash equivalent proceeds of the Property wherever located,

  constituting cash collateral of the Debtor within the meaning of Section 363(a) of the Bankruptcy

  Code (the “Cash Collateral”). The Debtor acknowledges and admits, on its own behalf and on

  behalf of its estate, that SKW – B holds properly perfected, non-avoidable liens and security

  interests against the Collateral, including the Cash Collateral, as security for the Indebtedness.

           J.        The Debtor does not have sufficient available sources of working capital and

  financing to carry on the operation of the Property without the use of Cash Collateral. The ability

  of the Debtor to pay operating expenses is essential to the Debtor’s continued viability. It is in the

  best interests of the Debtor’s estate to have continued use of Cash Collateral for the operation of

  the Property.

           K.        The Debtor has requested that SKW - B consent to the interim and limited use of

  Cash Collateral. As evidenced by the undersigned counsel, SKW - B is willing to allow the Debtor

  to use Cash Collateral on an interim basis pursuant to the terms and conditions set forth in this


                                           EXHIBIT A – Page 3
  5637605.1 FJR 23081.20
21-10630-tmd Doc#24 Filed 09/07/21 Entered 09/07/21 16:01:32 Main Document Pg 14 of
                                        25



  Order. The terms and conditions of the proposed use of Cash Collateral pursuant to this Order are

  fair and reasonable, were negotiated by the parties in good faith at arm’s length, and the parties

  otherwise acted in good faith. SKW - B has not agreed to any further or other use of Cash

  Collateral for any other purpose except as set forth in this Order.

           L.        The Debtor has provided sufficient notice of the Court’s initial hearing resulting in

  the entry of this Order. Sufficient and adequate notice under the circumstances of the Motion and

  the relief granted in this Order has been given.

           M.        Furthermore, to enable the Debtor to use the Cash Collateral, SKW – B hereby

  consents to the Debtor’s transfer thereof comprising funds from its prepetition cash management

  account at PNC Bank, N.A. (Account No. ******8983) (the “PNC Cash Management Account”)

  to a new debtor in possession account opened postpetition at Metropolitan Commercial Bank

  (Account No. ******6192) (the “DIP Account”).

           N.        Based on the record before this Court, there is good cause for the Court to authorize

  the Debtor’s interim use of Cash Collateral under the terms and conditions stated herein.

           O.        Each of the foregoing findings by the Court will be deemed a finding of fact if, and

  to the extent, that it contains factual findings and a conclusion of law if, and to the full extent, that

  it makes legal conclusions.

           Based upon the foregoing findings and conclusions, and good and sufficient cause

  appearing therefor,

           IT IS HEREBY ORDERED as follows:

           1.        The Motion is GRANTED on a further interim basis as provided in this Order.




                                            EXHIBIT A – Page 4
  5637605.1 FJR 23081.20
21-10630-tmd Doc#24 Filed 09/07/21 Entered 09/07/21 16:01:32 Main Document Pg 15 of
                                        25



           2.        Pursuant to Section 363(c) of the Bankruptcy Code, the Debtor shall be, and hereby

  is, authorized to use the Cash Collateral on an interim basis upon (and only upon) the terms and

  conditions set forth in this Order.

           3.        The Debtor’s use of Cash Collateral is limited to payment of the authorized

  expenses pursuant to the budget for the Property attached hereto as Exhibit 1 (the “Budget”) and

  for no other purpose without the prior written consent of SKW - B or further order of the Court.

           4.        The Debtor shall immediately, and shall continue to, segregate, remit, and deposit

  all Cash Collateral in the Debtor’s accounts, possession, custody, or control, and which the Debtor

  may receive in the future in a separate post-petition bank accounts established for the Debtor (the

  “Cash Collateral Accounts”). The Cash Collateral Accounts shall be in the name of the Debtor,

  but the Debtor shall be prohibited from withdrawing funds from the Cash Collateral Accounts

  except in strict compliance with the terms of this Order.

           5.        The Debtor shall not commingle the Cash Collateral with the cash collateral of any

  other debtor, affiliate, guarantor, or any of the Debtor’s members, managers, partners,

  shareholders, insiders, or any other person or entity.

           6.        Unless extended further with the written consent of SKW - B, the authorization

  granted to the Debtor to use Cash Collateral under this Order shall terminate immediately upon

  the earliest to occur of the following (the date of such termination being the “Termination Date”):

  (i) the entry of an order dismissing the Bankruptcy Case, (ii) the entry of an order converting the

  Bankruptcy Case to cases under Chapter 7; (iii) the entry of an order appointing a trustee or an

  examiner with expanded powers with respect to the Debtor’s estate or the Property; (iv) entry of

  an order reversing, vacating, or otherwise amending, supplementing, or modifying this Order, (v)

  entry of an order granting relief from the automatic stay to any creditor (other than SKW - B)


                                           EXHIBIT A – Page 5
  5637605.1 FJR 23081.20
21-10630-tmd Doc#24 Filed 09/07/21 Entered 09/07/21 16:01:32 Main Document Pg 16 of
                                        25



  holding or asserting a lien in the Collateral, (vi) unless the Court orders otherwise, if Colliers, or a

  similar third party property manager acceptable to SKW - B or approved by the Court, is not

  engaged by the Debtor to oversee the management of the Property; or (vii) the Debtor’s breach or

  failure to comply with any term or provision of this Order. Notwithstanding any such termination,

  the rights and obligations of the Debtor and the rights, claims, liens, priorities, and other benefits

  and protections afforded to SKW - B under this Order shall remain unimpaired and unaffected by

  any such termination and shall survive any such termination.

           7.        SKW – B shall be entitled to all of the rights and benefits of section 552(b) of the

  Bankruptcy Code, and the “equities of the case” exception under section 552(b) of the Bankruptcy

  Code shall not apply to SKW – B with respect to proceeds, products, offspring or profits of any of

  the Collateral.

           8.        Notwithstanding anything in Section 552 of the Bankruptcy Code to the contrary,

  SKW – B shall have, and is hereby granted, effective as of the Petition Date, valid, binding,

  enforceable, and automatically perfected post-petition liens that are co-extensive with SKW - B’s

  prepetition liens and security interests in: (i) all currently owned or hereafter acquired property

  and assets of the Debtor to the extent that such property and assets constitute SKW - B’s Collateral

  under the Loan Documents, of any kind or nature, whether real or personal, tangible or intangible,

  wherever located, now owned or hereinafter acquired or arising; and (ii) all proceeds, products,

  and profits of the foregoing (the "Replacement Liens"). The Replacement Liens are being given

  to the extent of any decrease in value of the Collateral or Cash Collateral. The Replacement Liens

  shall be effective and perfected as of the date of the entry of this Order and without the necessity

  of the execution by the Debtor of any security agreement, pledge agreement, financing statement




                                            EXHIBIT A – Page 6
  5637605.1 FJR 23081.20
21-10630-tmd Doc#24 Filed 09/07/21 Entered 09/07/21 16:01:32 Main Document Pg 17 of
                                        25



  or any other documents and shall have the same validity, priority, and enforceability as SKW - B’s

  liens and security interests in and on the Collateral on the Petition Date.

           9.        To the extent the Replacement Liens granted to SKW ‒ B in this Order do not

  provide SKW ‒ B with adequate protection of its interests in the Cash Collateral, SKW ‒ B is

  granted pursuant to sections 503(b) and 507(b) of the Bankruptcy Code an allowed administrative

  expense claim in the Bankruptcy Case ahead and senior to any and all other administrative expense

  claims in the Bankruptcy Case to the extent of any postpetition diminution in value (the "Adequate

  Protection Superpriority Claim"). The Adequate Protection Superpriority Claim will not be junior

  to any claims or administrative expenses.

           10.       As partial adequate protection to SKW - B under this Order, the Debtor shall pay

  to SKW - B, on or before the later of September 1, 2021 or within two (2) business days of the

  transfer of funds to the DIP, a payment in an amount equal to interest at the then applicable non-

  default contract rate pursuant to the terms of the Loan Documents (the “Adequate Protection

  Payments”) as reflected in the Budget.

           11.       Additionally, on the first day of each month, beginning on September 1, 2021 and

  each month thereafter, the Debtor shall deposit into the escrow reserve funds held by SKW – B

  amounts equal to 1/12 of the estimated (a) annual real property taxes for the Property and (b)

  annual insurance premiums for property and general liability insurance policies for the Property

  as set forth in the Budget.

           12.       As further adequate protection to SKW - B, absent prior written consent of SKW -

  B or further Order of the Court, the Debtor shall not revise or terminate (and, if necessary, shall

  extend the term of) its Management Agreement with Colliers concerning the management of the

  Property (the “Management Agreement”). Furthermore, the Debtor shall and is hereby authorized


                                           EXHIBIT A – Page 7
  5637605.1 FJR 23081.20
21-10630-tmd Doc#24 Filed 09/07/21 Entered 09/07/21 16:01:32 Main Document Pg 18 of
                                        25



  to use Cash Collateral to compensate Colliers pursuant to the terms of the Management Agreement

  to the extent provided for in the Budget.

           13.       The Loan Documents require, among other things, the Debtor to indemnify and

  hold SKW – B harmless from any and all loss, damage or expense including reasonable attorneys’

  fees and expenses incurred by SKW – B in connection with the protection of its rights or

  enforcement of remedies in the Bankruptcy Case and such amount shall be added to the

  Indebtedness. SKW – B reserves the right to seek, as further adequate protection for any future

  consent to use Cash Collateral, the payment of its counsel’s legal fees during the pendency of the

  Bankruptcy Case and prior to the payment of the Indebtedness.

           14.       Notwithstanding anything to the contrary herein, this Interim Order is without

  prejudice to the rights of the Debtor, on behalf of its estate, or creditors’ committee, if any, to

  challenge the type, nature, validity, perfection, priority, extent, enforceability or amount of the

  prepetition claims or liens of SKW – B in the Collateral (a “Challenge”). Any Challenge must be

  made on or before September 30, 2021 (the “Challenge Period”), after which time any such

  Challenge shall be deemed finally and conclusively barred; provided, further, if one or more claims

  are timely made under this paragraph and properly filed in this Court in connection with the

  Bankruptcy Case, then except for such timely and properly filed claim(s), all other potential claims

  and causes of action of any kind or nature against SKW – B are hereby deemed forever waived

  and relinquished.

           15.       No Cash Collateral may be used during the term of this Order to: (i) object to or

  contest in any manner, or raise any defenses to the validity, perfection, priority or enforceability

  of the SKW – B Claim, or the liens in favor of SKW - B securing the SKW – B Allowed Claim;

  (ii) object to or contest in any manner, or raise any alleged defenses to the validity, perfection,


                                           EXHIBIT A – Page 8
  5637605.1 FJR 23081.20
21-10630-tmd Doc#24 Filed 09/07/21 Entered 09/07/21 16:01:32 Main Document Pg 19 of
                                        25



  priority or enforceability of the SKW – B Allowed Claim or the liens in favor of SKW – B securing

  the Indebtedness; (iii) assert any claims or causes of action against SKW – B of any type, including,

  without limitation, any avoidance actions under Chapter 5 of the Bankruptcy Code, or any claim

  or cause of action related to the Loan Documents or otherwise; or (iv) prepare or prosecute any

  adversary proceeding in which SKW – B is named defendant.

           16.       The Debtor shall make available to SKW – B, its counsel, and consultants, upon

  reasonable request, the Debtor’s books and records and other financial information. The Debtor

  shall also deliver to SKW - B all customary reporting required to be delivered to SKW – B under

  the terms of the Loan Documents.

           17.       No expenses of administration of the Bankruptcy Case or any future proceeding

  that may result therefrom, including liquidation in bankruptcy or other proceedings under the

  Bankruptcy Code, shall be charged against or recovered from any Collateral pursuant to section

  506(c) of the Bankruptcy Code or any similar principal of law, and the Debtor, its estate, and any

  trustee appointed in chapter 11 or 7 shall irrevocably waive and shall be prohibited from asserting

  any claim under section 506(c) of the Bankruptcy Code or otherwise, for any costs and expenses

  incurred in connection with the preservation, protection or enhancement of, or realization by SKW

  -B upon the Collateral.

           18.       SKW – B shall have the right to “credit bid” the full amount of the Indebtedness in

  connection with any sale of all or any portion of the Collateral, including, without limitation, sales

  occurring pursuant to section 363 of the Bankruptcy Code or included as part of any chapter 11

  restructuring plan subject to confirmation or any sale or disposition by a chapter 7 trustee under

  section 725 of the Bankruptcy Code. The Debtor and its estate hereby waive the right to seek to




                                            EXHIBIT A – Page 9
  5637605.1 FJR 23081.20
21-10630-tmd Doc#24 Filed 09/07/21 Entered 09/07/21 16:01:32 Main Document Pg 20 of
                                        25



  limit or eliminate SKW – B’s right to credit bid “for cause” under section 363(k) of the Bankruptcy

  Code.

           19.       Each stipulation, admission, acknowledgement and agreement contained in this

  Interim Order shall be binding upon the Debtor, its estate and any successor thereto (including,

  without limitation, any chapter 7 or chapter 11 trustee appointed or elected for the Debtor) under

  all circumstances and for all purposes, and subject only to the Challenge Period and a timely

  assertion of a Challenge as set forth in paragraph 14 hereof, the Debtor and its estate are deemed

  to have irrevocably waived and relinquished any and all challenges to the nature, extent, validity

  and amount of SKW ‒ B's liens and claims in respect of the Indebtedness.

           20.       Nothing in this Order will be deemed or construed as an admission or waiver by

  SKW - B as to adequate protection, or any other issue in the Bankruptcy Case. Nothing in this

  Order shall prejudice SKW – B’s right to seek an order of this Court prohibiting the Debtor’s use

  of Cash Collateral, relief from the automatic stay, or seek any other or supplemental relief that

  SKW - B may deem necessary and appropriate under the circumstances; and nothing in this Order

  prejudices the Debtor or any other party in interest’s right to oppose such relief requested by SKW

  - B.

           21.       The Debtor is authorized and directed to transfer $1,492,504.11, the total amount

  of approved budgeted expenses, from the PNC Cash Management Account to the DIP Account

  and to use those funds solely to pay the budgeted expenses. PNC is hereby authorized and directed

  to facilitate such transfer.

           22.       The Debtor shall timely file all reports required by Bankruptcy Rule 2015 and Local

  Rule 2015 and shall timely pay all fees required by 28 U.S.C. § 1930. This Order specifically




                                           EXHIBIT A – Page 10
  5637605.1 FJR 23081.20
21-10630-tmd Doc#24 Filed 09/07/21 Entered 09/07/21 16:01:32 Main Document Pg 21 of
                                        25



  authorizes Debtor to use Cash Collateral to pay these fees for each quarter (including any fraction

  thereof) until the case is converted or dismissed.

           23.       To the extent permitted by applicable law, the provisions of this Final Order shall

  survive the entry of any order converting or dismissing the Bankruptcy Case or for the appointment

  of a chapter 11 trustee.


                                                     ###




                                           EXHIBIT A – Page 11
  5637605.1 FJR 23081.20
 21-10630-tmd Doc#24 Filed 09/07/21 Entered 09/07/21 16:01:32 Main Document Pg 22 of
                                         25

                               WC 717 N Harwood Property, LLC

                        Budget through September 30, 2021



Opening Cash Balance**                                   $              2,216,786.99


INCOME
 RENTAL INCOME
September Rent                                                               965,600.00
PROJECTED COLLECTIONS *                                                    965,600.00


EXPENSES
 CONTRACT SERVICES
   Colliers Property Mgmt                                                     98,619.52
  Thyssen Krupp                                                              100,000.00
  Promise Janitorial + Supplies                                               94,380.00
  Allied Security                                                             97,953.24
 Bulbs                                                                         2,400.00
 Parking Tower Expense                                                         6,657.40
 TeffNet                                                                       6,397.88
 Fire Alarm Monitoring                                                         1,380.00
 Captivate Elevator                                                            3,982.52
 TOTAL CONTRACT SERVICES                                                   411,770.56


 UTILITIES
   Sewer / Waste Water (City of Dallas)                                        8,487.48
   Utilities (Hudson Energy)                                                 154,000.00
 Trash Removal                                                                 6,854.82
 TOTAL UTILITIES                                                           169,342.30


 REPAIRS & MAINTENANCE
     Elevator Repairs                                                        282,833.85   *subject to further written approval from Lender
   Space Planning                                                             10,000.00
 TOTAL R&M                                                                 292,833.85


 GENERAL & ADMINISTRATIVE
   Bank Charges                                                                  400.00
   US Trustee Fee                                                             34,000.00
 TOTAL G&A                                                                  34,400.00


TOTAL OPERATING EXPENSES                                                   908,346.71
NET OPERATING INCOME/(LOSS)                                                 57,253.29


DEBT SERVICE AND ESCROWS
   Debt Service at Contract Rate                                             417,305.40
  Tax Escrow                                                                 147,000.00
   Insurance Escrow                                                           19,852.00
TOTAL DEBT SERVICE AND ESCROWS                                             584,157.40


ENDING CASH BALANCE                                      $           1,689,882.88

** Lender is also in possession of certain cash reserves for which Debtor reserves all rights.




                                                                    EX B
21-10630-tmd Doc#24 Filed 09/07/21 Entered 09/07/21 16:01:32 Main Document Pg 23 of
                                        25



  SKW-B Acquisitions Seller J, LLC
  c/o SKW Funding, LLC
  Attn: Matt Contreras
  134 West 25th Street
  New York, New York 10001

  Morritt Hook & Hamroff LLP
  400 Garden City Plaza
  Garden City, NY 11530
  Attn: Brandi P. Klineberg

  Colliers International Holdings (USA), Inc.
  28158 Network Place
  Chicago, IL 60673-1281

  Universal Protection Service LP
  P.O. Box 828854
  Philadelphia, PA 19182-8854

  Asurity Mortgage Group, LLC
  717 North Harwood
  Suite 1600
  Dallas, TX 75201

  TK Elevator Corporation
  P.O. Box 3796
  Carol Stream, IL 60132-3796

  RTC Waterproofing & Glass, Inc.
  1433 Crescent Drive
  Carrollton, TX 75006

  Hudson Energy Corp.
  P.O. Box 731137
  Dallas, TX 75373-1137

  Captivate LLC
  900 Chelmsford Street
  Suite 3101
  Lowell, MA 01851

  City of Dallas Water Utilities
  City Hall, 2D South
  Dallas, TX 75277




  5629592.1 FJR 23081.20
21-10630-tmd Doc#24 Filed 09/07/21 Entered 09/07/21 16:01:32 Main Document Pg 24 of
                                        25



  Promise Total Services, Inc.
  P.O. Box 29789
  Dallas, TX 75229-9789

  Mid America Metals
  P.O. Box 860
  Ozark, MO 65721-0860

  McCall Parkhurst and Horton LLP
  717 North Harwood
  Suites 525 and 900
  Dallas, TX 75201

  4-L Engineering Company Inc.
  420 N Dorothy Drive
  Richardson, TX 75081

  Nalco Company
  P.O. Box 730005
  Dallas, TX 75373-0005

  Universal Thrive Technologies LLC
  1815 E Wilshire Avenue
  Suite 910
  Santa Ana, CA 92705

  Mitec
  2445 Meadowbrook Parkway
  Duluth, GA 30096

  APS Building Services
  P.O. Box 40447
  Houston, TX 77240

  Texas AirSystems LLC
  6029 West Campus Circle Drive
  Suite 100
  Irving, TX 75063

  TRI-TEX Construction, Inc.
  403 International Parkway
  Suite 500
  Richardson, TX 75081




  5629592.1 FJR 23081.20
21-10630-tmd Doc#24 Filed 09/07/21 Entered 09/07/21 16:01:32 Main Document Pg 25 of
                                        25



  Downtown Dallas Inc.
  Bank of America Plaza
  Suite 7100
  901 Main St.
  Dallas, TX 75202

  Allied Universal Technology Services
  3440 Sojourn Drive
  Suite 220
  Carrolton, TX 75006

  Office of the US Trustee
  903 San Jacinto Boulevard
  Room 230
  Austin, TX 78701

  Ross & Smith, PC
  Attn: Frances A. Smith
  700 N. Pearl Street, Suite 1610
  Dallas, TX 75201

  Ross & Smith, PC
  Attn: Eric Soderlund
  700 N. Pearl Street, Suite 1610
  Dallas, TX 75201

  Dallas County
  Linebarger Goggan Blair & Sampson, LLP
  c/o Elizabeth Weller
  2777 N Stemmons Frwy Ste 1000
  Dallas, Texas 75207




  5629592.1 FJR 23081.20
